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                  EXHIBIT B
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                                                                                         092-3093
                              UNITED STATES OF AMERICA
                             FEDERAL TRADE COMMISSION

____________________________________
                                    )
In the Matter of                    )
                                    )
TWITTER, INC.,                      )
a corporation.                      )                        DOCKET NO. C-4316
____________________________________)

                                         COMPLAINT

        The Federal Trade Commission, having reason to believe that Twitter, Inc. (“Twitter” or
“respondent”), a corporation, has violated the Federal Trade Commission Act (“FTC Act”), and
it appearing to the Commission that this proceeding is in the public interest, alleges:

1.     Twitter is a privately-owned, Delaware corporation with its principal office or place of
       business at 795 Folsom St., Suite 600, San Francisco, CA 94103.

2.     The acts and practices of respondent as alleged in this complaint have been in or
       affecting commerce, as “commerce” is defined in Section 4 of the FTC Act.

                      RESPONDENT’S BUSINESS PRACTICES

3.     Since approximately July 2006, Twitter has operated www.twitter.com, a social
       networking website that enables users to send “tweets” – brief updates of 140 characters
       or less – to their “followers” (i.e., users who sign up to receive such updates) via email
       and phone text. Consumers who use Twitter can follow other individuals, as well as
       commercial, media, governmental, or nonprofit entities. Using Twitter, consumers may
       receive discount offers from companies, breaking news from media outlets, and public
       safety and emergency updates from federal and municipal authorities. In many instances,
       tweets invite users to click on links to other websites, including websites that consumers
       may use to obtain commercial products or services.

4.     Twitter collects certain information from each user and makes it part of the user’s public
       profile. Such information includes: a user name and profile image, lists of the other
       Twitter users whom the user follows and is followed by, and, at the user’s option, a
       website address, location, time zone, and one-line narrative description or “bio.” In
       addition, tweets appear in the user profile for both sender and recipient – and are public –
       except where users “protect” their tweets or send “direct messages,” as described in
       paragraph 6, below.

5.     Twitter also collects certain information about its users that it does not make public.
       Such information includes: an email address, Internet Protocol (“IP”) addresses, mobile
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      carrier or mobile telephone number (for users who receive updates by phone), and the
      username for any Twitter account that a user has chosen to “block” from exchanging
      tweets with the user. This nonpublic information (collectively, “nonpublic user
      information”) cannot be viewed by other users or any other third parties, but – with the
      exception of IP addresses – can be viewed by the user who operates the account.

6.    Twitter offers privacy settings through which a user may choose to designate tweets as
      nonpublic. For example, Twitter offers users the ability to send “direct messages” to a
      specified follower and states that “only author and recipient can view” such messages.
      Twitter also allows users to click a button labeled “Protect my tweets.” If a user chooses
      this option, Twitter states that the user’s tweets can be viewed only by the user’s
      approved followers. Unless deleted, direct messages and protected tweets (collectively,
      “nonpublic tweets”) are stored in the recipient’s Twitter account.

7.    From approximately July 2006 until July 2009, Twitter granted almost all of its
      employees the ability to exercise administrative control of the Twitter system, including
      the ability to: reset a user’s account password, view a user’s nonpublic tweets and other
      nonpublic user information, and send tweets on behalf of a user. Such employees have
      accessed these administrative controls using administrative credentials, composed of a
      user name and administrative password.

8.    From approximately July 2006 until January 2009, Twitter’s employees entered their
      administrative credentials into the same webpage where users logged into
      www.twitter.com (hereinafter, “public login webpage”).

9.    From approximately July 2006 until July 2008, Twitter did not provide a company email
      account. Instead, it instructed each employee to use a personal email account of the
      employee’s choice for company business. During this time, company-related emails
      from Twitter employees in many instances displayed the employee’s personal email
      address in the email header.

                             RESPONDENT’S STATEMENTS

10.   Respondent has disseminated or caused to be disseminated statements to consumers on
      its website regarding its operation and control of the Twitter system, including, but not
      limited to:

      a.     from approximately May 2007 until November 2009, the following statement in
             Twitter’s privacy policy regarding Twitter’s protection of nonpublic user
             information:

                     Twitter is very concerned about safeguarding the confidentiality of your
                     personally identifiable information. We employ administrative, physical,
                     and electronic measures designed to protect your information from
                     unauthorized access. (See Exhibit 1).

                                                           2
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      b.     since approximately November 17, 2008, the following statements on its website
             regarding the privacy of direct messages that users send via Twitter:

                     Help Resources/Getting Started/What is a direct message?
                     What is a direct message? (DM)

                     Private Twitter Messages

                     In addition to public updates . . . you can send followers private tweets,
                     called direct messages, too . . .

                     [direct messages] are not public; only author and recipient can view direct
                     messages. (See Exhibit 2; emphases in original).

      c.     since at least November 6, 2008, the following statements on its website
             regarding the privacy of protected tweets that users send via Twitter:

                     Public vs protected accounts
                     ...
                     Public or protected (private)?

                     When you sign up for Twitter, you have the option of keeping your
                     account public (the default account setting) or protecting the account to
                     keep your updates private . . . Protected accounts receive a follow request
                     each time someone wants to follow them, and only approved followers are
                     able to see the profile page. If the idea of strangers reading your Twitter
                     updates makes you feel a little weird, try protecting your profile at first.
                     You can always change your mind later. . . .

                     Protecting your Twitter profile

                     Not everyone has to see your Twitter updates. Keep your Twitter updates
                     private and approve your followers by protecting your profile . . .
                     Protected account owners control who is able to follow them, and keep
                     their updates away from the public eye . . . (See Exhibit 3; emphases in
                     original).

                       RESPONDENT’S SECURITY PRACTICES

11.   Contrary to the statements above, Twitter has engaged in a number of practices that,
      taken together, failed to provide reasonable and appropriate security to: prevent
      unauthorized access to nonpublic user information and honor the privacy choices
      exercised by its users in designating certain tweets as nonpublic. In particular, Twitter
      failed to prevent unauthorized administrative control of the Twitter system by, among
      other things, failing to:

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      a.     establish or enforce policies sufficient to make administrative passwords hard to
             guess, including policies that: (1) prohibit the use of common dictionary words as
             administrative passwords; and (2) require that such passwords be unique – i.e.,
             different from any password that the employee uses to access third-party
             programs, websites, and networks;

      b.     establish or enforce policies sufficient to prohibit storage of administrative
             passwords in plain text in personal email accounts;

      c.     suspend or disable administrative passwords after a reasonable number of
             unsuccessful login attempts;

      d.     provide an administrative login webpage that is made known only to authorized
             persons and is separate from the login webpage provided to other users;

      e.     enforce periodic changes of administrative passwords, such as by setting these
             passwords to expire every 90 days;

      f.     restrict each person’s access to administrative controls according to the needs of
             that person’s job; and

      g.     impose other reasonable restrictions on administrative access, such as by
             restricting access to specified IP addresses.

12.   Between January and May 2009, intruders exploited the failures described above in order
      to obtain unauthorized administrative control of the Twitter system. Through this
      administrative control, the intruders were able to: (1) gain unauthorized access to
      nonpublic tweets and nonpublic user information, and (2) reset any user’s password and
      send unauthorized tweets from any user account. In particular:

      a.     On approximately January 4, 2009, an intruder used an automated password
             guessing tool to derive an employee’s administrative password, after submitting
             thousands of guesses into Twitter’s public login webpage. The password was a
             weak, lowercase, letter-only, common dictionary word. Using this password, the
             intruder could access nonpublic user information and nonpublic tweets for any
             Twitter user. In addition, the intruder could, and did, reset user passwords, some
             of which the intruder posted on a website. Thereafter, certain of these
             fraudulently-reset user passwords were obtained and used by other intruders to
             send unauthorized tweets from user accounts, including one tweet, purportedly
             from Barack Obama, that offered his more than 150,000 followers a chance to
             win $500 in free gasoline, in exchange for filling out a survey. Unauthorized
             tweets also were sent from eight (8) other accounts, including the Fox News
             account.



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      b.     On approximately April 27, 2009, an intruder compromised an employee’s
             personal email account, and was able to infer the employee’s Twitter
             administrative password, based on two similar passwords, which had been stored
             in the account, in plain text, for at least six (6) months prior to the attack. Using
             this password, the intruder could access nonpublic user information and
             nonpublic tweets for any Twitter user. In addition, the intruder could, and did,
             reset at least one user’s password.

                            VIOLATIONS OF THE FTC ACT

                                           Count 1

13.   As set forth in paragraph 10, respondent has represented, expressly or by implication,
      that it uses reasonable and appropriate security measures to prevent unauthorized access
      to nonpublic user information.

14.   In truth and in fact, as described in paragraph 11, respondent did not use reasonable and
      appropriate security measures to prevent unauthorized access to nonpublic user
      information. Therefore, the representation set forth in paragraph 13 was, and is, false or
      misleading.

                                           Count 2

15.   As set forth in paragraph 10, respondent has represented, expressly or by implication,
      that it uses reasonable and appropriate security measures to honor the privacy choices
      exercised by users.

16.   In truth and in fact, as described in paragraph 11, respondent did not use reasonable and
      appropriate security measures to honor the privacy choices exercised by users.
      Therefore, the representation set forth in paragraph 15 was, and is, false or misleading.

17.   The acts and practices of respondent as alleged in this complaint constitute deceptive acts
      or practices, in or affecting commerce, in violation of Section 5(a) of the Federal Trade
      Commission Act.

        THEREFORE, the Federal Trade Commission this second day of March, 2011, has
issued this complaint against respondent.

             By the Commission.


                                            Donald S. Clark
                                            Secretary




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              EXHIBIT 1
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 Twitter                                                                                          Page 1 of4


     • Skip past navigation
     • On a mobile phone? Check out m.twitter.com!
     • Skip to navigation
     • Skip to sign in form




     • Login
     • Join Twitter!


 Twitter Privacy Policy
 This Privacy Policy is effective as ofMay 14, 2007.

 Twitter provides this Privacy Policy to inform users of our policies and procedures regarding the
 collection, use and disclosure of personally identifiable information received from users of this
 website, located at www.twitter.com ("Site" ) or collected through our social networking service,
 including via SMS, WAP and Instant Messaging ("Service" ). This Privacy Policy may be updated
 from time to time for any reason; each version will apply to information collected while it was in
 place. We will notify you of any material changes to our Privacy Policy by posting the new
 Privacy Policy on our Site. You are advised to consult this Privacy Policy regularly for any
 changes.

. By using our Site you are consenting to our processi.ngof your information as set forth in this
  Privacy Policy now and as amended by us. "Processing" means using cookies on a computer or
  using or touching information in any way, including, but not limited to, collecting, storing,
  deleting, using, combining and disclosing information, all of which activities will take place in the
  United States. If you reside outside the U.S. your personally identifiable information will be
  transferred to the U.S., and processed and stored there under U.S. privacy.standards. By visiting
  our Site and providing information to us, you consent to such transfer to, and processing in, the
  US.

 If you have any questions or comments about this Privacy Policy or our use of your personally
 identifiable information, please contact us at privacy at twitter dot com.

 Information Collection and Use

 Our primary goals in collecting personally identifiable information are to provide you with the
 product and services made available through the Site, including, but not limited, to the Service, to
 communicate with you, and to manage your registered user account, if you have one.

 Information Collected Upon Registration. If you desire to have access to certain restricted
 sections of the Site, you will be required to become a registered user, and to submit certain
 personally identifiable information to Twitter. This happens in a number of instances, such as
 when you sign up for the Service, or if you desire to receive marketing materials and information.
 Personally identifiable information that we may collect in such instances may include your IP
 address, full user name, password, email address, city, time zone, telephone number, and other
 information that you decide to provide us with, or that you decide to include in your public profile.


 http://twitter.comltos_archive/privacy_1                                                          1122/2010
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Twitter                                                                                        Page 2 of4



Additional Information Your full user name and your photo, if you decide to upload one, are
displayed to people in the Twitter network to enable you to connect with people on Twitter, as
specified in your privacy settings. Once a member, you may provide additional information in the
profile section, including but not limited to your bio, your location, as well as your personal web
site, if you have ~n~. Providing additional information beyond what is required at registration is
entirely optional, but enables you to better identify yourself and find new friends and opportunities
in the Twitter system. If you activate the mobile phone options per the Terms of Service at
www.twitter.comltos. we will collect your cellular phone number account information. You will
receive notifications on your cellular phone account in a number of cases, such as when a Twitter
member adds you as a friend or sends you a message. If you contact us by email thr/:>ugh the Site,
we may keep a record of your contact information and correspondence, and may use your email
addIess, and any information that you provide to us in your message, to respond to you.

Use of C-ontact Information In addition, we may use your contact information to market to you,
and provide you with informa~ion about, our products and services, including but not limited to our
Service. If you decide at any time that you no longer wish to receive such information or
communications from us, please follow the unsubscribe instructions provided in any of the
communications.

Log Data When you visit the Site, our servers automatically record information that your browser
sends whenever you visit a website ("Log Data" ). This Log Data may include information such as
your IP address, browser type or the domain from which you are visiting, the web-pages you visit,
the search terms you use, and any advertisements on which you click. For most users accessing the
Internet from an Internet service provider the IP address will be different every time you log on.
We use Log Data to monitor the use of the Site and of our Service, and for the Site''™s technical
administration. We do not associate your IP address with any other personally identifiable
information to identify you personally, except in case of violation of the Terms of Service

Cookies

Like many websites, we also use "cookie" technology to collect additional website usage data and
to improve the Site and our service. A cookie is a small data file that we transfer to your
computer''™s haret disk. We do not use cookies to collect personally identifiable information.
Twitter may use both session cookies and persistent cookies to better understand how you interact
with the Site and our Service, to monitor aggregate usage by our users and web traffic routing on
the Site, and to improve the Site and our services. A session cookie enables certain features of the
Site and our service and is deleted from your computer when you disconnect from or leave the
Site. A persistent cookie remains after you close your browser and may be used by your browser
on subsequent visits to the Site. Persistent cookies can be removed by following your web browser
help file directions. Most Internet browsers automatically accept cookies. You can instruct your
browser, by editing its options, to stop accepting cookies or to prompt you before accepting a
cookie from the websites you visit.

Information Sharing and Disclosure

Service Providers We engage certain trusted third parties to perform functions and provide
services to us, including, without limitation, hosting and maintenance, customer relationship,
database storage and management, and direct marketing campaigns. We will share your personally
identifiable information with these third parties, but only to the extent necessary to perform these
functions and provide such services, and only pursuant to binding contractual obligations requiring



http://twitter.comltos_archive/privacy_l                                                        112212010
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Twitter                                                                                          Page 3 of4


 such third parties to maintain the privacy and security of your data.

 Compliance with Laws and Law Enforcement Twitter cooperates with government and law
 enforcement officials or private parties to enforce and comply with the law.. We may disclose any
 information about you to government or law enforcement officials or private parties as we, in our
 sole discretion, believe necessary or appropriate to respond to claims, legal process (including
 subpoenas), to protect the property and rights of Twitter or a third party, the safety ofthe public or
 any person, to prevent or stop any illegal, unethical, or legally actionable activity, or to comply
 with the law.

 Business Transfers Twitter may sell, transfer or otherwise share some or all of its assets,
 including your personally identifiable information, in connection with a merger, acquisition,
 reorganization or sale of assets or in the event of bankruptcy. You will have the opportunity to opt
 out of any such transfer if the new entity's planned processing of your information differs
 materially· from that set forth in this Privacy Policy.

 Changing or Deleting Information

 If you are a registered user of the Site, you may access and update or correct the information you
 provided to us bye-mailing us at privacy at twitter dot com.

 Security

  Twitter is very concerned about safeguarding the confidentiality of your personally identifiable
  information. We employ administrative, physical and electronic measures designed to protect your
. information from unauthorized access.

 We will make any legally-required disclosures of any breach of the security, confidentiality, or
 integrity of your unencrypted electronically stored personal data to you via email or conspicuous
 posting on this Site in the most expedient time possible and without unreasonable delay, consistent
 with (i) the legitimate needs of law enforcement or (ii) any measures necessary to determine the
 scope of the breach and restore the reasonable integrity of the data system.

 Links to Other Websites

 Our Site contains links to other websites. The fact that we link to a website is not an endorsement,
 authorization or representation of our affiliation with that third party. We do not exercise control
 over third party websites. These other websites may place their own cookies or other files on your
 computer, collect data or solicit personally identifiable information from you. Other sites follow
 different rules regarding the use or disclosure of the personally identifiable information you submit
 to them. We encourage you to read the privacy policies or statements of the other websites you
 visit.                   :

 Our Policy Towards Children

 The Site is not directed to persons under 13. If a parent or guardian becomes aware that his or her
 child has provided us with personally identifiable information without their consent, he or she
 should contact us at privacy at twitter dot com. We do not knowingly collect personally
 identifiable information from children under 13. Ifwe become aware that a child under 13 has
 provided us with personal identifiable Information, we will delete such information from our files.


 http://twitter .com/tos_archive/privacy_1                                                         1122/2010
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Twitter                                                                _ Page 4 of4


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   • Contact
   • Blog
   • Status
   • Goodies
   • API
   • Business
   • Help
   • Jobs
   • Terms
   • Privacy




http://twitter.comltos_archive/privacy_1                                 112212010
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             EXHIBIT 2
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Twitter Support                   What is a direct message? (DM)                                                                                              Page 1 of2




         Help Resources I Getting Started I What is a direct message? ..                                                                    Related topics
                                                                                                                                              Direct Message
                                                                                                                                              problems/confusion
          What is a direct message? (OM)                                                                                                       Fixed: Unable to access direct
          Submitted Nov 17, 2008"by crystal                                                                                                   ~message timeline
                                                                                                                                              Frequently Asked Questions

          Private Twitter Messages                                                                                                            Fixed: Account settings revert
                                                                                                                                              to original after making
                                                                                                                                              changes (Usemame, email.
          In addition to pubfic updates and @replies, you can send folJov.rers private tweets, called direct messages, too. tf someone is
                                                                                                                                              password)
          following you, you can send a direct message from the web via the "message" link on the profile page. (please note: you
          cannot send a direct message to a user who is not following you.)                                                                   Account restoration does not
                                                                                                                                              work



                         jymminie
                                                                                                                                            Help Resources
                                                                                                                                              Getting Started (42)
              tweet tweet                                                                                                                     Using Twitter with your phone
                                                                                                                                              (25)
                                                                                                                                              Troubleshooting (23)
                                                                                                                                              Known Issues (39)
                                                                                                                                              Impersonation, Trademark, and
          You can also send direct messages from:
                                                                                                                                              Terms of Service policies (14)
              •   the reply icon attached .to messa~es in your direct message inbox                                                           Twitter Support- ien espanol!
              •   the drop down box on the direct message inbox page (please note: this is a random selection of people who are               (58)
                  following you, not the complete list. If a follower'S name i~ not on this list, use the options above or below)             Twitter Support· auf Deutsch
              •   the status update box using the direct message command: d + usemame + message                                               (16)
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                                                                                                                                            Search




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          1ip:·t~ reply to a regul~~ Twitt~r ~pdat~ with a dir~t mes~age from yo~r     page, click the arrow/swoosh at the end of an
          update; this sets an @reply in the update box. Remove the '@' sign and replace it with a "d" and a space, and type the
          message. People who have their direct message text and email notifications set to ON will receive direct messages on their
                                                                                                                                                                     k:;;.~€lrY-~;:,~1
          phones andfor via email. Tweets sent using any of the methods described above are not public: only author and recipient
          can view direct messages.                                                       ~



          More like tweets, less like email
          Direct messages behave more like tweets than emaHs: any action the sender of a OM takes on a direct message will affect
          the recipient of that OM. As the recipient of the Direct Message, you have the ability to delete it; the messages you delete
          also disappear frpm the sender's sent tab. Conversely. deleting direct messages you have sent will also delete the
          message from the recipient's inbox forever.

          The number next to your Direct Messages tab reflects the number of direct messages in your inbox. If this number has
          changed recently and you have not deleted any of your messages. remember: the sender of the direct message has
          the. ability to delete messages from your inbox, these messages are not mysteriously disappearing or getting lost.




          Direct messaging from your phone
          In addition to sending direct messages from the web, you can also send direct messages from different devices using d +
          usemame + message. (For example: d krissy I want to see that movie too; what are you doing this weekend? ) Send a direct
          message from:

              •   your phone
              •   most 3rd party applications

          Note: If your message is longer than 140 characters and Twitter receives it intact, we will send your message in two parts for
          you. But, beware: if your service provider breaks up long messages into two parts before sending the message to Twitter, we
          will only see the d+usemame attached to the first message! The second part will post to the public time line as a regular
          update because it doesn't have the d+usemame preceding it.



          Receive direct messages when other tweets are off
          You can turn phone notifications OFF and still receive Direct Twitters from followers. Here's how:
            1.    Log in to Twitter.
            2.    In the upper right hand navigation, click Settings.
            3.    Click the third settings tab, Mobile.
            4.    Use the drop down box to select Direct. Messages. This means only direct messages will come to your device.

          You can also do this directly from your phone. If notmcations are ON, send OFF once to set your phone for direct messages
          only. Send OFF twice to tum on off all notifications to your phone. Haven't added your phone yet? Find more information
          about adding your phone here. Added your phone already? Find out what commands you can use!




http://help.twitter.comlforums/1 0711 lentries/14606                                                                                                            1122/2010
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Twitter Support:: What is a direct message? (DM)                                       Page 2 of2




      Looking for information about @replieslmentions? Click here.




                                                                          Help desk software by ~endesk




http://help.twitter.comlforumsll 07111entriesll4606                                      1122/2010
Case 3:22-cv-03070-TSH Document 1-2 Filed ......
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                      EXHIBIT 3
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                                                                                                                                                                     ':'-




Twitter Support :: Public vs protected accounts                                                                                                              Page 1 of2




     Help Resources I Getting Started I Public vs protected accounts                                                                        Related topics
                                                                                                                                              Twitter search still shows
                                                                                                                                              updates from my private
      Public v~ protected accounts                                                                                                           ~account!

      Submitted Nov 06, 2008 by crystal                                                                                                       Missing mentions or replies
                                                                                                                                              Fixed: Protected Accounts'
                                                                                                                                              Accepted Followers aren't
      Public or protected (private)?                                                                                                          showing up in Followers List
                                                                                                                                              and Requester Can't Request
      VVhen you sign up for Twitter, you have the option of keeping your account public (the default account setting) or protecting
                                                                                                                                              Again
      the account to keep your updates. private. Public accounts have profile pages that are visible to everyone, and anyone can
                                                                                                                                              Blocked/suspended users
      follow public updates without approval from the account owner.                                                                          causing incorrect follow counts
      Protected accounts receive a follow request each time someone wants to follow them, and only approved followers are able                I can't access my new follower
      10 see the profile page. If the idea of strangers reading your Twitter updates makes you feel a little weird, try protecting your       requests!

      profile at first. You can always change your mind later. Please note: ff your account is protected, we assume that you
      only want your followers to see your updates. @replies sent to people who aren't following you will not be seen. If
      you want to interact with everyone on Twitter, you should not protect your account.

                                                                                                                                            Help Resources
      Protecting your Twitter profile                                                                                                         Getting Started (42)
                                                                                                                                              Using Twitter with your phone
      Not everyone has to see your Twitter updates. Keep your Twitter updates private and approve your followers by protecting
                                                                                                                                              (25)
      your profile. You can protect your profile in your account settings page. Protected account owners control who is ab.le to
                                                                                                                                              Troubleshooting (23)
      follow them, and keep their updates away from the public eye. Private accounts can can always go public by un-dlecking the
                                                                                                                                              Known Issues (39)
      box in account settings.
                                                                                                                                              Impersonation, Trademark, and
                                                                                                                                              Terms of Service policies (14)
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                               cipt,..... t!J,.,.,.,w:u.~borV.e.t?~I.,.,,~' ......

                            ~~~.~=:3----------------~

      To protect your profile:
        1. Log in to Twitter
        2. Click Settings
        3. Scroll down and check the box next to "Protect my Updates"

        4. SAVE your changes.

      When you navigate to your home page after protecting your profile, you'll see a notice reminding you that your profile is now
      protected.




      If I'm public and I decide to protect my profile, what happens?
      If you have a public account and you protect it, all updates after the time of protection will be protected. Your profile will only
      be visible to approved followers, and existing followers will not be affected. You don't have to approve existing followers, nor
      do you have to follow them. You can stop sending updates to these followers at any time by clicking "remove" in your
      followers page. After protecting your profile, people will have to request to follow you, and each follow request will need
      "pproval. You can allow people to follow you without following them back.




      When someone requests to follow me, what happens?
      VVhen someone who has requested to follow you visits your profile, they'll see a note saying ''You've requested to follow this
      person. Remove?" until you have taken a?tion on the follow request or the request has been canceled. Keep in mind that
      when you protect your profile, you:

                must approve all follow requests for people who want to receive your Twitter updates
                exclude your information from Twitter search results
                cannot share static page URls with non-followers

      If I let someone follow me, do I have to follow back?




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      No. You can allow S?meone to follow you without following them back. If you change your mind and want to revoke follow
      privileges, visit. your followers page. and click the remove button.




      Protected/Private Profiles & Search
      Please note that tweets from protected profiles will not appear in search resu~s. People wni still be able to find your
      account using the Find People search tool but only people you've approved to follow your account will be able to
      see your tweets. Also note that any tweets posted while your profile is private will remain private indefinttely. and
      tweets posted while your account is public will remain public indefinitely.




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